﻿Citation Nr: AXXXXXXXX
Decision Date: 08/31/20	Archive Date: 08/31/20

DOCKET NO. 191205-47774
DATE: August 31, 2020

ORDER

Entitlement to service connection, to include whether new and relevant evidence was submitted for a left shoulder disability, is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for a left arm disability, is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for tinnitus is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for a back disability, is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for a neck disability, is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for a right knee disability, is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for a left hip disability, is dismissed.

Entitlement to service connection, to include whether new and relevant evidence was submitted for bilateral hearing loss, is dismissed.

FINDING OF FACT

On June 30, 2020, the Board was notified that the appellant died in June 2020.

CONCLUSION OF LAW

Due to the death of the Veteran, the Board has no jurisdiction to adjudicate the merits of this appeal at this time.  38 U.S.C. § 7104(a); 38 C.F.R. § 20.1302.

REASONS AND BASES FOR FINDING AND CONCLUSION

Unfortunately, the appellant died during the pendency of the appeal. As a matter of law, appellants’ claims do not survive their deaths.  Zevalkink v. Brown, 102 F.3d 1236, 1243-44 (Fed. Cir. 1996); Smith v. Brown, 10 Vet. App. 330, 333-34 (1997); Landicho v. Brown, 7 Vet. App. 42, 47 (1994). This appeal on the merits has become moot by virtue of the death of the appellant and must be dismissed for lack of jurisdiction.  38 U.S.C. § 7104(a); 38 C.F.R. § 20.1302.

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In reaching this determination, the Board intimates no opinion as to the merits of this appeal or to any derivative claim brought by a survivor of the Veteran.  38 C.F.R. § 20.1106.

The Board’s dismissal of this appeal does not affect the right of an eligible person to file a request to be substituted as the appellant for purposes of processing the claim to completion. Such request must be filed not later than one year after the date of the appellant’s death. 38 U.S.C. § 5121A; 38 C.F.R. § 3.1010(b). A person eligible for substitution includes “a living person who would be eligible to receive accrued benefits due to the claimant under section 5121(a) of this title ….”  38 U.S.C. § 5121A; 38 C.F.R. § 3.1010(a). An eligible party seeking substitution in an appeal that has been dismissed by the Board due to the death of the claimant should file a request for substitution with the VA office from which the claim originated.  38 C.F.R. § 3.1010(b).

 

 

H. SEESEL

Veterans Law Judge

Board of Veterans’ Appeals

Attorney for the Board	C. Teague, Associate Counsel

The Board’s decision in this case is binding only with respect to the instant matter decided. This decision is not precedential and does not establish VA policies or interpretations of general applicability. 38 C.F.R. § 20.1303. 

